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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


KIRK VININGS, Individually and On           Case No.
Behalf of All Others Similarly Situated,
                                            CLASS ACTION COMPLAINT FOR
                              Plaintiff,    VIOLATIONS OF THE FEDERAL
                                            SECURITIES LAWS
               v.

VERTIV HOLDINGS CO, ROB                     JURY TRIAL DEMANDED
JOHNSON, and DAVID FALLON,

                              Defendants.
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       Plaintiff Kirk Vinings (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Vertiv Holdings

Co (“Vertiv” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by Vertiv; and (c) review of other publicly available information concerning Vertiv.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Vertiv securities between April 28, 2021 and February 23, 2022, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.      Vertiv purports to be a “global leader in the design, manufacturing and servicing of

critical digital infrastructure technology that powers, cools, deploys, secures and maintains

electronics that process, store and transmit data.” Its offerings include power management

products, thermal management products, integrated rack systems, modular solutions, and

management systems for monitoring and controlling digital infrastructure.

       3.      On February 23, 2022, at 6:00 a.m. Eastern, Vertiv reported disappointing financial

results, including $0.06 earnings per share for fourth quarter 2021, missing analyst estimates of

$0.28 per share. Vertiv’s Chief Executive Officer attributed the poor results to management

“consistently underestimat[ing] inflation and supply chain constraints for both timing and degree,

which dictated a tepid 2021 pricing response.”




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        4.      On this news, the Company’s stock price fell $7.19, or 37%, to close at $12.38 per

share on February 23, 2022, on unusually heavy trading volume.

        5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that the

Company could not adequately respond to supply chain issues and inflation by increasing its

prices; (2) that, as a result of the increasing costs, Vertiv’s earnings would be adversely impacted;

and (3) that, as a result of the foregoing, Defendants’ positive statements about the Company’s

business, operations, and prospects were materially misleading and/or lacked a reasonable basis.

        6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                   JURISDICTION AND VENUE

        7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.




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       10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                            PARTIES

       11.     Plaintiff Kirk Vinings, as set forth in the accompanying certification, incorporated

by reference herein, purchased Vertiv securities during the Class Period, and suffered damages as

a result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

       12.     Defendant Vertiv is incorporated under the laws of Delaware with its principal

executive offices located in Columbus, Ohio. Vertiv’s Class A common stock trades on the New

York Stock Exchange (“NYSE”) under the symbol “VRT.”

       13.     Defendant Rob Johnson (“Johnson”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

       14.     Defendant David Fallon (“Fallon”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.

       15.     Defendants Johnson and Fallon (collectively the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts


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specified herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                                   SUBSTANTIVE ALLEGATIONS

                                               Background

          16.       Vertiv purports to be a “global leader in the design, manufacturing and servicing of

critical digital infrastructure technology that powers, cools, deploys, secures and maintains

electronics that process, store and transmit data.” Its offerings include power management

products, thermal management products, integrated rack systems, modular solutions, and

management systems for monitoring and controlling digital infrastructure.

                                    Materially False and Misleading
                               Statements Issued During the Class Period

          17.       The Class Period begins on April 28, 2021. On that day, Vertiv announced its first

quarter 2021 financial results in a press release that stated, in relevant part:1

                •   Strong net sales growth of 22.4% and organic net sales growth of 19.5%(1)
                    compared with last year’s first quarter - with strength in all regions.

                •   Orders up 21% versus last year’s first quarter fueling a record backlog of
                    $2.1 billion.

                •   Operating profit of $80 million and adjusted operating profit of $112
                    million, with operating profit margin of 7.3% and adjusted operating profit
                    margin of 10.2%. Adjusted operating margin 790 basis points higher than
                    prior year first quarter.

                •   Net cash from operating activities of $61 million increased $255 million,
                    and free cash flow of $43 million increased $246 million from prior year
                    first quarter. Strong quarter-end liquidity of $1.1 billion.

                •   Earnings per share of $0.09 and adjusted earnings per share of $0.21
                    exceeding guidance.


1
    Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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             •   Vertiv raises full year 2021 net sales, adjusted operating profit and adjusted
                 EPS guidance.

                                           *       *       *

       Full Year and Second Quarter 2021 Guidance

       In part due to our strong first quarter performance, we are increasing our full year
       2021 adjusted operating profit guidance to $595 million (at the mid-point), $20
       million higher than our previous guidance. This full year guidance includes the
       expected negative net impact in the remainder of the year of higher commodity
       and freight costs.




       18.       On April 30, 2021, Vertiv filed an amended Form 10-K for the period ended

December 31, 2020. It stated, in relevant part:

       Failure to properly manage our supply chain and inventory could result in higher
       costs of production and delays in fulfilling customer orders, excess or obsolete
       materials or components, labor disruptions or shortages and delays in
       production.

       Our operations, particularly our manufacturing and service operations, depend on
       our ability to accurately anticipate both our needs, including raw materials,
       components, products and services, from third-party suppliers, and such suppliers’
       ability to timely deliver the quantities and quality required at reasonable prices. We
       have a large number of providers to support our global operations and breadth of
       offerings. In addition, certain of our suppliers are also competitors with us in one
       or more parts of our business and those suppliers may decide to discontinue
       business with us. Other supply chain risks that we could face include, but are not
       limited to, the following:

             •   Volatility in the supply or price of raw materials. Our products rely on a
                 variety of raw materials and components, including steel, copper and
                 aluminum and electronic components. We may experience a shortage of, or
                 a delay in receiving, such materials or components as a result of strong
                 demand, supplier capacity constraints or other operational disruptions,
                 restrictions on use of materials or components subject to our governance
                 and compliance requirements, disputes with suppliers or problems in


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                  transitioning to new suppliers. Moreover, prices for some of these materials
                  and components have historically been volatile and unpredictable, and such
                  volatility is expected to continue. Ongoing supply issues may require us to
                  reengineer some offerings, which could result in further costs and delays. If
                  we are unable to secure necessary supplies at reasonable prices or
                  acceptable quality, we may be unable to manufacture products, fulfill
                  service orders or otherwise operate our business. We may also be unable to
                  offset unexpected increases in material and component costs with our own
                  price increases without suffering reduced volumes, revenues or operating
                  income.

                                               *    *      *

        Any of these risks could have an adverse effect on our results of operations and
        financial condition.

(First emphasis in original.)

        19.       On July 28, 2021, Vertiv announced its second quarter 2021 financial results in a

press release that stated, in relevant part:

              •   Diluted earnings per share of $0.03 increased $0.20 and adjusted diluted
                  earnings per share of $0.31(1) increased $0.15 from last year’s second
                  quarter.

              •   Customer demand remains robust with net sales growth of 25% and organic
                  net sales growth of 20% from last year’s second quarter, with double-digit
                  sales growth in all regions.

              •   Record backlog of $2.3 billion at the end of June. Order growth of 24%
                  compared to prior year’s second quarter.

              •   Second quarter operating profit of $102 million increased $32 million, or
                  45%, and adjusted operating profit of $134 million increased $31 million,
                  or 30%, from last year’s second quarter. Adjusted operating margin of
                  10.6%, up 40 basis points.

                                               *    *      *

        Second quarter operating profit of $102 million increased $32 million, and adjusted
        operating profit of $134 million increased $31 million from the prior year quarter.
        Higher adjusted operating profit was driven by an $80 million benefit from the
        profit flowthrough from higher organic volume offset primarily by an approximate
        $25 million headwind from net material and freight inflation and $20 million higher
        fixed costs in part due to discrete COVID-19 cost actions taken in last year’s second
        quarter. The $25 million of net material and freight inflation includes an



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        approximate $10 million offset for year-over-year pricing. We expect pricing to
        ramp-up as we progress through 2021 and to completely offset gross material and
        freight inflation within the fourth quarter. Diluted earnings per share of $0.03
        increased $0.20, and adjusted diluted earnings per share of $0.31 increased $0.15
        from the prior year quarter. The $0.15 improvement in adjusted diluted earnings
        per share in the second quarter included the benefit of $0.07 from items outside
        adjusted operating profit, primarily lower tax and interest expense.

                                               *   *      *

        Full Year and Third Quarter 2021 Guidance

        End-market demand remains robust, and we are increasing our full year net sales
        guidance to 14% growth at the midpoint (12% organic growth). While material
        inflation and supply-chain challenges continue, we have implemented additional
        pricing actions and fixed cost reductions to help offset these challenges. We are
        raising the midpoint of our full year adjusted operating profit guidance to $600
        million. This full year guidance includes the expected negative net impact in the
        remainder of the year of current commodity and freight costs as well as price
        recovery, which typically lags inflation.




        20.       On October 27, 2021, Vertiv announced its third quarter 2021 financial results in a

press release that stated, in relevant part:

              •   Robust end-market demand continued with double-digit order growth and
                  record backlog of $2.4 billion.

              •   Net sales growth of 5.8% and organic net sales growth of 3.9% versus prior
                  year third quarter.

              •   Third quarter operating profit of $82 million and adjusted operating profit
                  of $131 million(1), with operating profit margin of 6.7% and adjusted
                  operating profit margin of 10.7%. Adjusted operating profit margin 490
                  basis points higher than prior year third quarter.



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   •   Diluted earnings per share of $0.15, up $0.47 and adjusted diluted earnings
       per share of $0.20(1) up $0.15 from prior year quarter.

                                 *      *       *

Third quarter operating profit of $82 million increased $47 million and adjusted
operating profit of $131 million increased $64 million from the prior year quarter.
Adjusted operating profit improvement was influenced by a one-time $80 million
charge for a restructuring reserve and asset impairments recorded in third quarter
2020. The remaining $16 million reduction in adjusted operating profit was
primarily driven by a $40 million year-over-year headwind from net material and
freight inflation offset by $15 million net fixed cost reductions and a $10 million
flowthrough benefit from higher organic sales. Supply chain issues have continued
to accelerate in the third quarter and no improvement is expected in the fourth
quarter, although our pricing response continues to meaningfully increase
sequentially each quarter, and we anticipate another sequential increase in the
fourth quarter. Cost containment actions have been accelerated heading into the
fourth quarter to mitigate impacts from increased supply chain disruptions.

                                 *      *       *

Full Year and Fourth Quarter 2021 Guidance

Given the portfolio enhancements underway, we have updated our guidance to
include impacts from the E+I acquisition, as well as the divestiture of the heavy
industrial UPS business. The net impacts from these transactions are an additional
$55 million in net sales and $13 million in adjusted operating profit and are
included in the guidance table below for both fourth quarter and full year 2021.
This guidance includes the expectation that supply chain headwinds continue at
current levels for the remainder of the year. We anticipate supply chain pressure
to continue at least through the first half of 2022. Despite these headwinds,
demand remains strong, and we anticipate net pricing and inflation actions will
provide a tailwind for full year 2022. In addition, we continue to accelerate
additional cost containment actions.




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       21.     The above statements identified in ¶¶ 17-20 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that the Company could

not adequately respond to supply chain issues and inflation by increasing its prices; (2) that, as a

result of the increasing costs, Vertiv’s earnings would be adversely impacted; and (3) that, as a

result of the foregoing, Defendants’ positive statements about the Company’s business, operations,

and prospects were materially misleading and/or lacked a reasonable basis.

                           Disclosures at the End of the Class Period

       22.     On February 23, 2022, at 6:00 a.m. Eastern, Vertiv reported disappointing financial

results, including $0.06 earnings per share for fourth quarter 2021, missing analyst estimates of

$0.28 per share. Vertiv’s CEO attributed the poor results to management “consistently

underestimat[ing] inflation and supply chain constraints for both timing and degree, which dictated

a tepid 2021 pricing response.”

       23.     During the related conference call, Defendant Fallon stated that “adjusted operating

profit and margin were significantly affected by negative net price costs with almost $190 million

of material and freight inflation, only partially offset by $53 million of pricing.” Defendant

Johnson explained the underpricing that led to the earnings miss:

       Let me address our guidance miss in the fourth quarter for which I take full
       responsibility for. In short, we screwed up and some of you undoubtedly are
       wondering how we could get so surprised. We significantly underestimated the
       magnitude of the material and freight inflation in the fourth quarter forecast
       mostly in America, by approximately $36 million.

       This underestimation cost also contributed to our underpricing in the market in
       2021. So it was a huge deal not only for costs, but also price. Half of the inflation
       miss was related to unforeseen supplier de -commits on critical components and
       our need to execute spot buys and premium freight to meet customer commitments.
       The other half is related to forecasting issue within America's region, heavily
       influenced by our ERP implementation. But also, due to forecasting process issues
       within the region.


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       These regional costs, forecasting issues have been fixed, and we feel very confident
       with our cost projections for 2022 as evidenced by our January costs being lower
       than what we were planning.

       24.     Also during the conference call, Defendant Fallon stated that the pricing issues

would continue through the second quarter of 2022:

       [T]he primary driver of this sequentially improving financial performance is the
       timing of price realization. . . . Our price cost issues began in the third quarter of
       2021 and we anticipate them to be addressed after the second quarter of this year.
       So we’re almost three quarters of our way through what we see is a four-quarter
       issue as price costs turns positive for each of the last two quarters of 2022.

       25.     On this news, the Company’s stock price fell $7.19, or 37%, to close at $12.38 per

share on February 23, 2022, on unusually heavy trading volume.

                               CLASS ACTION ALLEGATIONS

       26.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Vertiv securities between April 28, 2021 and February 23, 2022, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

       27.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Vertiv’s shares actively traded on the NYSE. While

the exact number of Class members is unknown to Plaintiff at this time and can only be ascertained

through appropriate discovery, Plaintiff believes that there are at least hundreds or thousands of

members in the proposed Class. Millions of Vertiv shares were traded publicly during the Class

Period on the NYSE. Record owners and other members of the Class may be identified from




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records maintained by Vertiv or its transfer agent and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities class actions.

       28.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       29.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       30.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Vertiv; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

       31.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.




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                               UNDISCLOSED ADVERSE FACTS

        32.     The market for Vertiv’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Vertiv’s securities traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired Vertiv’s securities relying upon

the integrity of the market price of the Company’s securities and market information relating to

Vertiv, and have been damaged thereby.

        33.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Vertiv’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Vertiv’s business, operations, and prospects as alleged herein.

        34.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Vertiv’s financial well-being and prospects. These material misstatements and/or

omissions had the cause and effect of creating in the market an unrealistically positive assessment

of the Company and its financial well-being and prospects, thus causing the Company’s securities

to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the Class

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.


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                                       LOSS CAUSATION

       35.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       36.     During the Class Period, Plaintiff and the Class purchased Vertiv’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       37.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Vertiv, their control over, and/or

receipt and/or modification of Vertiv’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Vertiv, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       38.     The market for Vertiv’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Vertiv’s securities traded at artificially inflated prices during the Class Period. On



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September 2, 2021, the Company’s share price closed at a Class Period high of $28.59 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Vertiv’s securities and market information relating

to Vertiv, and have been damaged thereby.

       39.     During the Class Period, the artificial inflation of Vertiv’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the damages

sustained by Plaintiff and other members of the Class. As described herein, during the Class

Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Vertiv’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Vertiv and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       40.     At all relevant times, the market for Vertiv’s securities was an efficient market for

the following reasons, among others:

               (a)     Vertiv shares met the requirements for listing, and was listed and actively

traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, Vertiv filed periodic public reports with the SEC

and/or the NYSE;

               (c)     Vertiv regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the




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national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Vertiv was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       41.     As a result of the foregoing, the market for Vertiv’s securities promptly digested

current information regarding Vertiv from all publicly available sources and reflected such

information in Vertiv’s share price. Under these circumstances, all purchasers of Vertiv’s

securities during the Class Period suffered similar injury through their purchase of Vertiv’s

securities at artificially inflated prices and a presumption of reliance applies.

       42.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       43.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.


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The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Vertiv

who knew that the statement was false when made.

                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        44.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        45.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Vertiv’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        46.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the


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statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Vertiv’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       47.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Vertiv’s financial

well-being and prospects, as specified herein.

       48.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Vertiv’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Vertiv and its business operations and future prospects in light of

the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       49.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the




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creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       50.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Vertiv’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       51.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Vertiv’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in




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which the securities trades, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

during the Class Period, Plaintiff and the other members of the Class acquired Vertiv’s securities

during the Class Period at artificially high prices and were damaged thereby.

        52.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Vertiv was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Vertiv securities, or,

if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

        53.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        54.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                         SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        55.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        56.     Individual Defendants acted as controlling persons of Vertiv within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s



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operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

        57.    In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        58.    As set forth above, Vertiv and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;




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       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: March 24, 2022                         By: /s/ Gregory B. Linkh
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                                              Attorneys for Plaintiff Kirk Vinings




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               SWORN CERTIFICATION OF PLAINTIFF
         VERTIV HOLDINGS CO (VRT) SECURITIES LITIGATION


  I, Kirk Vinings, certify that:

  1.      I have reviewed the Complaint, adopt its allegations, and authorize its filing
          and/or the filing of a lead plaintiff motion on my behalf.

  2.      I did not purchase the Vertiv Holdings Co securities that are the subject of this
          action at the direction of plaintiff’s counsel or in order to participate in any private
          action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in Vertiv Holdings Co securities during the period set forth in the
          Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:

  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.




  3/16/2022
________________                          _________________________________________
     Date                                  Kirk Vinings
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       Kirk Vinings' Transactions in Vertiv Holdings Co (VRT)
      Date       Transaction Type        Quantity       Unit Price
      4/28/2021        Bought                   2,200       $23.0100
       8/3/2021        Bought                   1,730       $27.9700
